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IN THE UNITED STATES DISTRICT COURRMDHL…_
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION GSH§YZM
HF;L:

CL FT'r *'t

X W. n 11 s
FREDRICK C. NELSON, X
X
Plaintiff, X
X

vs. X No. 04-2840-Ma/An
X
JIM KBRAS, X
X
Defendant. X
X

 

ORDER TO ISSUE SERVICE OF PROCESS

 

Plaintiff Fredrick C. Nelson filed a pro §§ complaint
pursuant to Title VII of the Civil Rights Act cf 1964, 42 U.S.C. §
2000e et seg;, on October 19, 2004 and paid the civil filing fee.
Because it appeared from the face of the complaint that the
complaint was untimely, having been filed ninety-six (96) days after
the issuance of the right to sue letter, the Court issued an order
on November 5, 2004 directing the plaintiff to show cause why the
complaint should not be dismissed as time barred. The order stated
that “the plaintiff is entitled to an opportunity to demonstrate
either that his complaint was filed within ninety days of receipt
of the right to sue letter or that he is entitled to equitable
tolling.” The plaintiff's response, which was submitted on December
3, 2004, asked for application of the doctrine of equitable tolling
because, contrary to the allegation in the complaint, the right to

sue letter was not received on July 15, 2004, the date on which it

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with Ru!e 58 and,'or 79(3) FRCP on ._.) §§ ,)

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was issued, but was mailed to the plaintiff and received later.
Although the plaintiff's response to the order to show cause has not
set forth any facts indicating he likely would be entitled to
equitable tolling, the allegation that the right to sue letter was
mailed is sufficient that the Court will not dismiss the complaint,
sga sponte, as time barred. Nothing in this order is intended to
preclude the defendant from seeking dismissal of the complaint on
statute of limitations grounds.

Within thirty (30) days of the date of entry of this
order, the plaintiff shall personally appear at the Clerk’s office
and, upon presentation of a copy of this order, the Clerk shall
provide plaintiff one (l) blank, unsigned summons. Pursuant to Fed.
R. Civ. P. 4{b), the plaintiff is responsible for properly filling
out the summons and presenting it to the Clerk for signature and
seal. If the summons is in proper form, the Clerk shall sign, seal,
and issue it to the plaintiff for service on the defendant. The
service on the defendant shall include the order to show cause, the
plaintiff's response, and this order. The plaintiff is responsible
for ensuring that service is effected on the defendant pursuant to
Fed. R. Civ. P. 4(h)(l)}

It is ORDERED that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for the
defendant, or on the defendant if he has no attorney. The plaintiff

shall make a certificate of service on every document filed. The

 

1 Plaintiff also must comply with Rule 4(c)(2), which requires, in

part: “Service may be effected by any person who is not a party and who is at
least 18 years of age.”

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plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and the local rules of this Court.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
reguirements, or any other order of the Court, may result in this
case being dismissed without further notice.

The plaintiff is advised that the time limit set forth in
Fed. R. Civ. P. 4(m) shall commence running on the date of entry of
this order.

iT rs so oRDERED this 13A day cf May, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02840 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Fredrick C. Nelson
207 Williford
l\/lenlphis7 TN 38112

Honorable Samuel Mays
US DISTRICT COURT

